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FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983
IN THE UNITED STATES DISTRICT COURT

u FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
ms SeXul failed." COMPLAINT

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(FicstName) (Middle Name)
Hato LO) JUL 15 2014
(Institution) Deere na yecerenciemecipeeems
MDOC EM’, F(e8) US Ln) 6, i ae Pre ee
(Address)

(Enter above the full name of the plaintiff prisoner, and address
plaintiffin this action)

CIVIL ACTION NUMBER: 2S: | ¢ bb? -LRHER

(to be completed by the Court)

YY. :
Mass. Deph.ak’ Lr seh as S, Jie LEM, a E
of) MA: ie. Matar Teas

(Enter above the fall name of the defendant or defendants In this action)

OTHER LAWSUITS FILED BY PLAINTIFF -

NOTICE AND WARNING:
The plaintiff must fully complete the following questions. Failure to do so may result in your case being dismissed.

Yes(X) No( )

A. Have you ever filed any other lawsuits in a court of the United States?

If your answer to A is yes, complete the following information for each and every civil action and appeal filed by you. (if there
is more than one action, complete the following information for the additional actions on the reverse side of this page or

additional sheets of paper.)

Parties to the action: KH Lh. M, SS) Wl Ke L Dai e sates “We eal},

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2. Court (if federal court, name the district; if state court, name the co

Bish. AGS3! Ghee Sudeernd, LY; Coben A083, 5

3. Docket Number: ;

Db

4, Name ofjudge to whom case-was assigned:

5. Disposition (for example: dismi i e
pending?): Plas Z oe i6s On che Ader : é KCL A LEN).

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PARTIES

(In item I below, place your name and prisoner number in the first blank and place your present address in the second blank. Do the same

for additional plaintiff, if an
I. Name of plaintiff: dado Lun) Det Prisoner Number: B85

Address: ues Ms L ures Leh NY bey Mentdin) WB. 314 Uersiee @A?
ss Wilma: Sa, Creat, 3 25760-

(In item II below, place the full name of the defendant in the first blank, his official position in the second blank, and his place of
employment in the third blank. Use the space below item II for the names, positions, and places of employment of any additional
defendants.)

II. pena 90 Aaloum, phe cbt fssmsot. Sutil, tah Yorn. xy we isemployedas.
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The nlatnthéf tp responsible for'providing the court:the-namenndaddresnofeach plaintitf(e) arwoll exthe name(s) and address(es)
_ of each defendant(s). Therefore, the plaintiff is required to complete the portion below:

PLAINTIFF:

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Hedans Lass Beck Wi, huu.58. Gretedy rts 3580,

- DEFENDANT(S):

NAME: Se dos ul 3 BPP RESE: Zn, W'S, Getpctial es Cg) Mf
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ibleer Soak | LC

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GENERAL INFORMATION
At the time of the incident complained ofin this complaint, were you incarcerated because you had been convicted of 2 crime?

Yes A No (

Are you presently incarcerated for a parole or probation violation?

Yes } No)

At the time of the incident complained ofin this complaint, were you an inmate of the Mississippi Department of Corrections

(MDO0C)?
vesQX) No( )

Are you currently an inmate of the Mississippi Department of Corrections (MDOC)?

Yes %) No (

Have you completed the Administrative Remedy Program regarding the claims presented in this | /l (

Yes DX No{__ ), ifso, state the results of the procedure: AR 4 We Ss enix #t Zit qa

If you are not an inmate of the Mississippi Department of Corrections, answer the following questions:

1. Did you present the facts relating to your complaint to the administrative or grievance procedure in your institution?

Yes( ) No{ )

2. State how your claims were presented (written request, verbal request, request for forms): -
3. State the date your claims were presented:
4. State the result of the procedure:

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STATEMENT OF CLAIM
In. State here as briefly as possible the facts of your case, Describe how each defendant is involved. Also, include the names of
other persons involved, dates, and places. Do not give any legal arguments or cite any cases or statutes. If you intend to allege

anumber of different claims, number and set forth each claim ina separate paragraph. (Use 2s much space as youneed; attach
— sheet if necessary.)

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RELIEF

IV. State what relief ‘you seek from the court. Make no legal Srgoments; Cite no cases or statutes.

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(i) US Lean, 3k. Seam os Sf

Signature of plaintiff, prisoner number and address of
plaintiff

I WY penalty of perjury that the foregoing is true and correct. J !

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